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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
                        Plaintiff               §
                                                §
 v.                                             §     No. 4:23-cr-00018
                                                §
 ALI DANIAL HEMANI,                             §
                                                §
                        Defendant               §

                      REPLY TO GOVERNMENT’S RESPONSE TO
                   MOTION FOR REVOCATION OR AMENDMENT OF
                 DETENTION ORDER PENDING JUDICIAL PROCEEDINGS

 TO THE HONORABLE AMOS L. MAZZANT, UNITED STATES DISTRICT JUDGE:

        COMES NOW Defendant, ALI DANIAL HEMANI, by and through his attorneys of

 record, CAMILLE M. KNIGHT and CARL DAVID MEDDERS, and files this Reply to the

 Government’s Response to his Motion for Revocation or Amendment of Detention Order Pending

 Judicial Proceedings. In support therefor, Defendant would show unto the Court the following:

        Undersigned Counsel, Camille M. Knight, agrees that the motion was filed one day past the

 due date. The motion, however, was filed within seven days of counsel moving to substitute in and

 included newly discovered evidence obtained from the government’s discovery production that was

 not available to the Defendant or prior counsel before the Order of Detention issued on March 21,

 2023. While Counsel erred in calendaring the due date for the motion, counsel respectfully requests

 that the Court consider the motion timely filed.1

        In his Motion to Revoke, Defendant referenced a boarding pass evidencing that he did not

 spend the night in New York City on July 24, 2022. (Motion, p. 5). This boarding pass was
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 produced in discovery. The Office of the Federal Public Defender received initial discovery

 production from the government on March 22, 2023 – the day after Judge Johnson’s order was

 entered. The boarding pass and many other items had been seized by the government and as such,

 the evidence was not available to Mr. Hemani prior to March 22, 2023. Because this evidence is

 integrally intertwined with the government’s arguments that Mr. Hemani is a danger or a flight risk

 – and the fact that reports produced in discovery show that the government knew of Mr. Hemani’s

 travel issues, as noted in his Motion - Defendant contends that the information comports with the

 requirements of 18 U.S.C. § 3142(f)(2)(B), allowing for the reopening of a detention hearing based

 on new information that was not known to the movant at the time of the detention hearing.

         WHEREFORE, PREMISES CONSIDERED, Defendant ALI DANIAL HEMANI

 respectfully requests that the Court consider his Motion to Revoke timely filed and conduct a de

 novo hearing on the Government’s Motion for Detention.

                                                               Respectfully submitted,

                                                                /s/ Camille M. Knight
                                                               Camille M. Knight
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                                                               /s/ Carl David Medders
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 1 Had counsel sought an extension of the due date by one day, she assumes that the Government would not have

 opposed a motion to extend the deadline, just as counsel did not oppose the government’s request for an extension of
 time to file its response. (Dkt. 37, 38).
                                                          2
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                                    CERTIFICATE OF CONFERENCE

         I hereby certify that I contacted Assistant United States Attorney Heather Rattan to confer regarding

 the request that the Court consider Defendant’s Motion to Revoke timely. I emailed Ms. Rattan on April 25

 and again on April 27, 2023. As of this filing, I have not received a response.


                                                             /s/ Camille M. Knight
                                                             Camille M. Knight


                                       CERTIFICATE OF SERVICE

         I hereby certify that on April 28, 2023, I electronically filed the foregoing document using the

 Court’s CM/ECF system, thereby providing service on attorneys of record.


                                                             /s/ Camille M. Knight
                                                             Camille M. Knight




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